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             IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DttSTRICT OF SOUTH CAROLINA
                            FLORENCE DIVIS10N


UNITED STATES OF A14ERICA                   crttmttna■   No: 4:17‑865

                 V。

                                                         PLEA AGREEMENT
」工M TRACY M工 LLER


                             General Provisions

     Thtts PLEA AGREEMENT is made thtts tiと              イ竺竺   day Of     ノ枠a/ι J為     ′


20t8, between the United States of America, as represented by
United States Attorney BETH DRAKE, Assistant                       United States
Attorney    Jim May; the          Defendant, JIM TRACY MILLER,.                      and

Defendant's attorneyr,Jim Hoffmeyer.
      IN   CONSIDERATION    of the muLual promises made herein, the
parties agree as follows:
1.    The Defendant agrees to plead guilt,y to Count l- and 2 of
      the Indictment now pending, which charges "Hobbd Act
      Conspiracy," a violation of Title 18, United States Code,                        S


      1951 (Count 1) and "Hobbs Act Robbery," a violation of
      Title 18, United States Code, S 1951 (Count 2) .
      In order to sustain its burden of proof, the Government is
required to prove the following:


                                    Count   1

      a.    the defendant agreed wlth one or more persons,
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     b.     to commlt a robbery, that is take an item by force or
            the threat of force from another,
     c.     that affected interstate     commerce,    and

     d.     did so knowingly.
The penalty for this offense is:
     Up to 20 years in prison, a fine of up           to $250,000, up to
     years supervised release, and a speclal assessment of             $100



                                 Count   2

          a. the defendant did rob, that is take an ltem by force
            or the threat of force from another,
          b. in and affecting interstate       commerce, and
          c. the defendant did so knowingly.
The penalt.y for this of fense j_s:

     Up to 20 years i_n prison, a fine of up to $250,000, up to               3

     years supervi-sed release, and a special assessment of $100.
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     The Defendant understands and agrees that monetary
     penalties Ii.e.,   special assessments, restitution,  fines
     and ot.her payments required under the sentencel imposed by
     the court are due immediately and subject to enforcement
                                                              by
     the United States as civil judgments, pursuant to
                                                        18             USC    S
     3613. The Defendant arso understands that payments
                                                         made in
     accordance with instafrment. schedules set by
                                                   the Court are
                                    2
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rninimum payments only and do not precrude the government
from seeking to enforce the judgment against other assets
of the defendant at any time, as provided in 1B usc ss
3612, 3673 and 3664 (m) .
The Defendant further       agrees to enter into the Bureau of
Prisons    rnmate       Financial    Responsibility         program if
sentenced to a term of incarceration with an unsatisfied
monetary penarty.        The Defendant further understands. that
any monetary penarty imposed is              not   dischargeable in
bankruptcy.
     A.    Special Assessment: pursuant to 1B U.S.C. 53013,
           the Defendant must pay a special assessment of
           $100.00 for each felony count for which he                     1s
           convict.ed- This special assessment must be paid
          at or before the time of the guilty plea hearing..
     B.   Restitution:      The Defendant agrees to make full
          restitution      under 1B U.S.C. S 3556 in an           amount
          to be determined by the court at the time of
          sentencing, which amount is not limited to t.he
          count(s) t-o which the Defendant pled guilty, but
          wi]1 include restitution    to each and every
          identifiable victim who may have been harmed
                                                         by
          his   scheme or       pattern    of   criminal      activity,
          pursuant to 1B U.S.C. S 3663.                The Defendant
                               3
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                  agrees to cooperate ful1y with the Government in
                  identifying        all victi_ms.
           C.     Fi-nes: The Defendant understands that the Court
                  may impose a fine pursuant to 1g U.S.C. SS 3571
                  and 3572.
3.   Provided the Defendant complies with al-l- the terms of this
     Agreement, the united states agrees to move to dismiss                        t.he

     remaininq     counts       of      the    Indictment      Iand any .other
     indictments under this numberl at sentencing. The Defendant
     understands that       the court may consider these dismissed
     counts as relevant conduct pursuant to S1B1.3 of the united
     States Sentencing Guidel-ines.


4.   The Defendant understands                that   the   oblttgatiOns     Of   the

     Government within           the      Plea       Agreement are         expressly
     contingrent upon the Defendant's abiding by federar                           and
     state raws and comprying with any bond executed in this
     case. rn the event that the Defendant fairs to comply with
     any of the provisions of this Agreement, either express or
     implied, the Government wirt have the right,                      at its     sole
     el-ection,   to     void    all     of    its    obligations      under this
     Agreement and the Defendant wilr                  not have any right              to
     wlthdraw his plea of guilty               to the offense (s) enumerated
     herein.

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                     Cooperation and Forfeiture
The Defendant agrees to be fulty                  truthful   and forthright
with federal,        state and focal Iaw enforcement agencies by
providing fulI,       complete and truthful          information about a1I
crimlnal     activitj-es        about which he has knowledge.                    The

Defendant must provi-de ful1,                     complete and truthful
debriefings about these unlawful activities and must'fully
discfose and provide truthful information to the                   Government

including     any books, papers, or documents or any other
items of evidentiary              value to the investigation.                    The

Defendant must also testify fu■             ly and truthfully before any

grand juries         and at any trials           or other proceedings if
called     upon to         do    so   by the Government,          sub j   ect.    t,o

prosecuLion for perjury for not t.estifying truthfully.                          The

failure      of     the     Defendant to         be fully     truthful           and

forthright        at any stage wi11, dt the sole el_ection of the
Government, cause the obligations of the Government within
this Agreement to become nul1 and void.                      Further, it is
expressry agreed that if the obligations of the                    Government
within this Agreement         nurr and void due to Lhe lack
                                 become
of truthful-ness on the part of the Defendant, the Defendant
understands that:




                                      5
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     a.       the Defendant will         not be permit.ted to withdraw
              his plea of guilty              to the offenses described
              above;

     b.       all     additional   charges known to the Government
              may    be filed in the appropriate district;
              the Government will         argue for a        maxj-mum sentence

              for     the    offense to        which the       Defendant   has

              pleaded guilty;      and

     d.       the Government will         use any and aII information
              and testimony provided by the Defendant pursuant
              to      this    Agreement, or            any    prior   proffer
              agreements, in the prosecution of the Defendant
              of all charges.
The Defendant agrees               to    submit        to    such polygraph
examinations as may be requested by the Government                          and

agrees that any such examinations shall be performed by                          a

polygraph examiner selected by the Government. Defendant
further agrees that his refusaL to take or his fail-ure to
pass any such polygraph examination to the Government, s
satisfaction          wiII    result,    zrt     the    Government,   s    sole
discretion,         in the obrigations of the Government within the
Agreement becoming nul1 and void
Provided       the      Defendant cooperates pursuant                 to   the
provlsions of this plea Agreement, and that cooperation is
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     deemed by           the        Government          as     providing   substantlal
     assistance in the investi-gation or prosecution of another
     person, the Government agrees to move the Court for                                 a

     downward departure or reduction of sentence pursuarit to
     United States Sentencing Guidelines S5K1.1, Title                               18,

     United States Code, S                3553    (e) or Federal Rule of Criminal
     Procedure       35 (b)   .    Any such motion by t.he Government is not
     binding upon the Court, and should the Court deny the
     motion, the Defendant wiII                    have no right      to withdraw her
     plea.
B.   Provided the Defendant cooperates and compli-es with all the
     terms of this Agreement, the Government agrees that it will
     not      attempt. to            directly       use       any   self-incriminating
     information provided by the Defendant as a result                           of the
     cooperation required by t.he terms of this Agreement in any
     pending or future prosecution.                      The Defendant agrees that
     the Government may make derj-vative use of such information
     as it        sees fit.       The Defendant also understands that. this
     agreement does           not apply to restrict any such information:
             a.      known     to the    Government          prior to the date of this
                     Agreement;
             b.      concerning the existence of prior convicti-ons                  and
                     sentences,.



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              C.     in a prosecution for perjury or giving a false
                     statement,' or
              d.     in the event the Defendant breaches any of the
                     terms of the Plea Agreement.
                          Merger and Other Provisions
9.   The Attorneys for the Government agree to recommend that
     the Defendant noL be prosecuted for any simirar or rerated
     state crime, stemming from the incidents on May 16,                       201G,

     so longi as the Defendant complies with the terms of. this
     Plea Agreement.              The Defendant understands that this              is
     only a recommendation and is not binding upon the 15th
     circuit        soricitor's     office.          Furthermore, the Defendant
     fuI1y understands that he has no right                     to withdraw his
     gullty        plea should such recommendation not be forl-owed by
     the 15th Circuit Solicitorrs              Office.
10   The Defendant represents to the court that he has met with
     his attorney on a sufficient               number of occasions and for         a

     sufficient       period of time to discuss the Defendant, s                 case
     and receive advice; that the Defendant has been truthful
     with his attorney and rel-ated arl information of which the
     Defendant is          aware pertaininq,          to   the case; that        the
     Defendant and his               attorney        have di-scussed possible
     defenses, if          any,     to   the     charges in      the    rndictment
     including       the existence of          any    exculpatOry Or favorable
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      evidence or witnesses, discussed the Defendant's right'to                       a

      public trial     by jury or by the Court, the right                      to the
      assistance of counsel throughout the proceedings, the right
      to call     witnesses in the Defendant's behalf and compel
      their     attendance at       trial      by   subpoena           the right     to
      confront and cross-examine the government                ′
                                                                   s   witnesses, the
      Defendant's right t.o testify              in his own behalf, or to
      remain silent and have no adverse inferences drawn from his
      silence,'    and that       t.he   Def   endant, with            the advice of
      counsel, has weighed the relative               benefits of a trial            by

      jury or by the Court versus a plea of guilty                        pursuant to
      this Agreement, and has entered this Agreement as a matter
      of the Defendant's free and voluntary choice, and not as                        a

      resuft of pressure or intimidation by any person.
11.   The Defendant is aware that 18 U.S.C. S 3'..42 and 28 U.S.C.
      S 2255 afford every defendant certain rights to contest                         a

      conviction     and/or sentence.            Acknowledging those rights,
      the Defendant, in exchange for the concessions made by the
      Government in       this    Plea Agreement, waives the right                   to
      contest either t.he conviction or the sentence in any direct
      appeal or       other      post-conviction       action,          incruding   any
      proceedings under 28 u.s.c.              s 2255. This waiver does not
      appry to       claims of      ineffective       assistance of           counsel,
      prosecutorial misconduct, or future changes in the law that
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      affect     the defendant's sentence. This agreement does not
      affect the rights or obligations of the Government as set
      forth      in   18 U.S.C. S 3142(b). Nor does it                   limit    the
      Government in its           comments in or responses to any post-
      sentencing matters.
12.   The Defendant waives all             rights,      whether asserted directly
      or by a representative,               to request or receive from any
      department or agency of the united states                         any records
      pertaining        to the investigation             or prosecution of this
      case, includi-ng without limitation                any records that may be
      sought under the Freedom of Information Act, 5 U.S.C.                         S

      552, or the Privacy Act of 1914, 5 U.S.C. S 552a.
113   rf   the    Def   endant compli-es with al-r the terms of this
      Agreement, both            parties        agree     that    the   appropriate
      disposition       of this case (irrespective of any fines and/or
      forfeitures)        is      a    sentence of          360    months a.ctual
      incarceration,       followed by the appropriate statutory                 term
      of supervised release.               rn the event that the Defendant
      complies with alr           terms of this Agreement and the court
      decl-ines to impose thi-s sentence, either party will                      have
      the right to withdraw his FRCRP 11 (C) (fy 1gy plea. If                     the
      Defendant does not comply with ar1 the terms
                                                        of this
      Agreement, the united states may seek the maximum
                                                                           sentence



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       aIl-owed by law and the Defendant will                not be allowed to
       withdraw his p1ea.
 L4. The parties hereby agree that this Plea Agreement contains
       the entire    agreement of the parties;            that this Agreement
       supersedes    al■     p   r■ or   prom■   ses′   representatttons    and

        statements of the parties; that this Agreement sha1l not               be

       binding on any party until the Defendant tenders a pl.ea of
       guilty to the court having jurisdiction over this matter;
       that. this   Agireement may be modified          only in writing signed
       by all    parties; and that any and all                 other promises,
       representatj-ons and statements, whether made prior                    to,
       contemporaneous     with or after this Agreement, are nul'l            and

       void.


  ‐ム7‑)ο lζ
Date                                          MILLER′ DEFENDANT


                                               ER ←
                                               R THE DEFEN


                                 BETH DRAKE
                                 UNITED STATES ATTORNEY
‐
メ/2/″
Date                             WILL LEWIS
                                 ASSIsTANT UNITED STATES ATTORNEY



Date                             」IM MAY (#11355)
                                                   %
                                 ASSISTANT UNITED STATES ATTORNEY
                                         11
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                              U. S. DEPARTMENT OF JUSTICE
                    Statement of Special Assessment Amount

         This statement reflects your special assessment only. There
         rnay be other penalties imposed at sentencing. This Special
         Assessment is due and payable at the time of the execution
                                           .




                                        ACCOUNTINFORMA丁 10N
          CRIM口    ACT:ON NO.:                 4:17‑865
          DEFENDANT.S NAME:                    」IM   ttRACY MILLER
          PAY THiS AMOUNT:                     $100.00
          PAYMENT DUE ON OR                                             (date plea agreement signed)
          BEFORE:

         MAKE CHECK OR MONEY ORDER PAYABLE TO:
         CLERκ υ.S.D′STR′ CT COURT
         PAYMENtt SHOULD BE SENT ttOi
         Clerk,U.S.District Court
         Matthew J.Perry,Jr.Courthouse
         901 Richland Street
         Columbia,SC 29201

         0R HAND DELIVERED丁 0:
         C:erk.s OfFice
         McM‖ lan Federal Bui:ding
         401 West Evans Street
         Florence,SC 29501(Mon,一                  F百 .8:30a.m.‑4:30p.m.)

         rvcと υDE DEFEIVDハ
         ′                    ArTS Ar4ME OArCHECκ OR MOAIEY ORDER                              ｀

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                                                                      cハ TrOAr OF Pハ   YMENT

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